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   Marc P. Cook
 1 Nevada Bar # 4574
   Cook & Kelesis, Ltd.
 2 517 S. 9th Street
   Las Vegas, Nevada 89101
 3 Tel: 702-737-7702
   mcook@bckltd.com
 4
   [Additional counsel appearing on signature page]
 5
   Attorneys for Plaintiffs
 6
                                 UNITED STATES DISTRICT COURT
 7
                                      DISTRICT OF NEVADA
 8
   NEIGHBORHOOD NEUROPATHY
 9
   CENTER OF RENO LLC, individually and on                 Case No.
   behalf of a class of similarly situated
10
   individuals,
11
                    Plaintiff,                             CERTIFICATE OF INTERESTED
     v.                                                    PERSONS
12
     MEDRISK, LLC, a Delaware limited liability
13
     company,
14
                    Defendant.
15
            In accordance with Civil L.R. 7.1-1, the undersigned, counsel of record for Plaintiff
16
     Neighborhood Neuropathy Center of Reno LLC, certifies that the following may have a direct,
17
     pecuniary interest in the outcome of this case:
18
               Neighborhood Neuropathy Center of Reno LLC (Plaintiff);
19
               Cook & Kelesis, Ltd. (counsel for Plaintiff and the Class); and
20
               Woodrow & Peluso, LLC (counsel for Plaintiff and the Class).
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     PLAINTIFF’S CERTIFICATE OF                        1
28 INTERESTED PERSONS
           Case 3:19-cv-00619-LRH-WGC Document 2 Filed 10/09/19 Page 2 of 2




 1         These representations are made to enable judges of the Court to evaluate possible
 2 disqualifications or recusal.

 3

 4 Dated: October 9, 2019                       Respectfully submitted,
 5
                                                NEIGHBORHOOD NEUROPATHY CENTER OF
 6
                                                RENO LLC, individually and on behalf of all others
 7                                              similarly situated,

 8
                                                By:   /s/ Marc P. Cook
 9
                                                Marc P. Cook
10                                              Nevada Bar # 4574
                                                Cook & Kelesis, Ltd.
11                                              517 S. 9th Street
                                                Las Vegas, Nevada 89101
12                                              Tel: 702-737-7702
                                                mcook@bckltd.com
13
                                                Patrick H. Peluso*
14                                              ppeluso@woodrowpeluso.com
                                                Taylor T. Smith*
15
                                                tsmith@woodrowpeluso.com
16                                              Woodrow & Peluso, LLC
                                                3900 East Mexico Ave., Suite 300
17                                              Denver, Colorado 80210
                                                Telephone: (720) 213-0675
18                                              Facsimile: (303) 927-0809
19
                                                Counsel for Plaintiffs and the Alleged Class
20
                                                *pro hac vice to be filed
21

22

23

24

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26

27
     PLAINTIFF’S CERTIFICATE OF                  2
28 INTERESTED PERSONS
